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            EXHIBIT 2
From:    "Roman, Eric" <Eric.Roman@arentfox.com>
To:                  Case
         "Engle, Craig"     1:19-cv-00150-DLF Document
                        <Craig.Engle@arentfox.com>,              215-3
                                                      Joey Allaham        Filed 09/15/23 Page
                                                                   <joeyallaham13@gmail.com>,   2 of 33 Mohammed"
                                                                                              "Farooqui,
<Mohammed.Farooqui@arentfox.com>
Subject: Re: I’m awake and pretty clear headed.
Sent:    Wed 12/22/2021 9:15:01 PM (UTC)
2021-12-22 Allaham Responses to Broidys First RFAs.docx
2021-12-22 Allaham Responses to Broidys First Irogs.docx

Great. Attached are the latest versions of the RFA and interrogatory responses. These reflect the strategy of asserting
diplomatic and sovereign immunity to the greatest extent possible, in line with the rest of the joint defense group. Happy
to discuss, and am generally available to speak this afternoon and evening.

Eric Roman
Counsel

Arent Fox LLP | Attorneys at Law
1301 Avenue of the Americas, Floor 42
New York, NY 10019
212.492.3283 DIRECT | 212.484.3990 FAX
eric.roman@arentfox.com | www.arentfox.com




From: Engle, Craig <Craig.Engle@arentfox.com>
Sent: Wednesday, December 22, 2021 3:15 PM
To: Roman, Eric <Eric.Roman@arentfox.com>; Joey Allaham <joeyallaham13@gmail.com>; Farooqui, Mohammed
<Mohammed.Farooqui@arentfox.com>
Subject: I’m awake and pretty clear headed.

Need me to do anything.

Sent from my iPhone



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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


                                    )
BROIDY CAPITAL                      )
MANAGEMENT LLC, et al.,             )
                                    )
            Plaintiffs,             )
                                    )                  Case No. 1:19CV150 (DLF)
      v.                            )
                                    )
NICOLAS D. MUZIN, et al.,           )
                                    )
            Defendants.             )
___________________________________ )

      OBJECTIONS AND RESPONSES TO PLAINTIFFS’ FIRST REQUESTS FOR
              ADMISSIONS TO DEFENDANT JOSEPH ALLAHAM

        Pursuant to Rules 26 and 36 of the Federal Rules of Civil Procedure and Local Civil Rule

26.2(d), Defendant Joseph Allaham (“Allaham”), by and through his attorneys, Arent Fox LLP,

responds to Plaintiffs Broidy Capital Management, LLC’s and Elliot Broidy’s (“Plaintiffs’”) First Set of

Requests for Admission (the “RFAs”) as follows:


                                    GENERAL OBJECTIONS

       1.      Allaham objects to the definitions of “Allaham,” “you,” and “your” in the RFAs

as overbroad, in that they purport to include within their scope “all representatives, agents, and

any other Person from whom the information sought is available to [Allaham].” Said definition,

as written, seeks to impose a discovery obligation on persons who are not party to this litigation.

       2.      Allaham objects to the definition of “Qatar” in the RFAs as vague, ambiguous,

and overbroad, in that it includes “affiliated entities,” and unregistered entities within its scope.

       3.      Allaham objects to the definition of “Hacked materials” as vague, ambiguous, and

overbroad because it is defined as materials that were “taken from” Plaintiffs or Associates or

Employees of Plaintiffs without further qualification. Said definition does not specify the
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manner in which said materials were “taken,” and includes within its scope materials that were

lawfully obtained.

       4.      Allaham objects to the RFAs to the extent they seek information that is protected

by the attorney-client privilege, the work product immunity or any other applicable protection or

immunity.

       5.      Allaham objects to the RFAs to the extent they seek information that is subject to

protection under the Vienna Convention on Diplomatic Relations and/or the Vienna Convention

on Consular Relations. Discovery materials are absolutely protected from disclosure under the

Vienna Conventions, which provide that the documents and information of a diplomatic mission

are “inviolable at any time and wherever they may be.” Vienna Convention on Diplomatic

Relations, art. 24, Apr. 18, 1961, 23 U.S.T. 3227, 500 U.N.T.S. 95, 108; see also Vienna

Convention on Consular Relations and Optional Protocol on Disputes, art. 33, Apr. 24, 1963, 21

U.S.T. 77, 596 U.N.T.S. 261, 289 (providing the same inviolability for consular archives). The

Ninth Circuit has also determined that Qatar is immune from suit. See Broidy Capital Mgmt.,

LLC v. Qatar, 982 F.3d 582, 586 (9th Cir. 2020). That means not only that Qatar has “immunity

from trial” but also from “the attendant burdens of litigation.” Kilburn v. Socialist People’s

Libyan Arab Jamahiriya, 376 F.3d 1123, 1126 (D.C. Cir. 2004) (quoting Jungquist v. Sheikh

Sultan Bin Khalifa Al Nahyan, 115 F.3d 1020, 1026 (D.C. Cir. 1997)).

       6.      Allaham objects to the RFAs to the extent they seek information contained in

documents and correspondence that are protected by principles of international comity in light of

Qatar’s interest in maintaining the confidentiality of information that relates to its governmental

policies. See Notice of Interest by Non-Party State of Qatar, ECF No. 66 (Oct. 21, 2021); see

also Societe Nationale Industrielle Aerospatiale v. U.S. Dist. Ct. for S. Dist. of Iowa, 482 U.S.

522, 546 (1987).

       7.      Allaham reserves his right to supplement or correct his answers to these RFAs.

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       2.     Each of Allaham’s responses set forth below is made subject to, and without

waiving, Allaham’s stated objections to the corresponding RFA.


                           SPECIFIC RESPONSES TO THE RFAS

       1.     Admit that you possessed documents, including emails, taken from Broidy.

       ANSWER: Allaham objects that the definition of “you” in this RFA is overbroad in that it
       purports to include within its scope “all representatives, agents, and any other Person from
       whom the information sought is available to [Allaham].” Said definition, as written, seeks
       to impose a discovery obligation on persons who are not party to this litigation. Allaham
       objects to this RFA in that it seeks discovery that goes beyond the scope of what is
       permissible under the Federal Rules of Civil Procedure. Allaham objects that the phrase
       “taken from” is vague and ambiguous, in that it does not specify how said documents were
       purportedly “taken.” Allaham objects to this RFA in that it calls for a legal conclusion.
       Allaham objects to this RFA to the extent the documents referenced were publicly
       available. Allaham objects to this request to the extent that it seeks any information that is
       protected from discovery due to principles of international comity and by Qatar’s sovereign
       or diplomatic immunity and the Vienna Convention on Diplomatic Relations and the
       Vienna Convention on Consular Relations. Allaham will not disclose information
       regarding his authorized activity for Qatar between August 2017 to July 2018. Allaham
       objects that this RFA seeks information that is irrelevant to Plaintiffs’ claims or Allaham’s
       defenses in this action.

       Subject to and based on these objections, this RFA is denied.

       2.     Admit that you viewed documents from the Hacked materials, including emails

before they were published by the media.

       ANSWER: Allaham objects that the definition of “you” in this RFA is overbroad in that it
       purports to include within its scope “all representatives, agents, and any other Person from
       whom the information sought is available to [Allaham].” Said definition, as written, seeks
       to impose a discovery obligation on persons who are not party to this litigation. Allaham
       objects to this RFA in that it seeks discovery that goes beyond the scope of what is
       permissible under the Federal Rules of Civil Procedure. Allaham objects that the terms
       “viewed” and “published” are vague and ambiguous. Allaham objects to the phrase
       “Hacked materials” as vague, ambiguous, and overbroad, in that it is defined as materials
       that were “taken from” Plaintiffs or Associates or Employees of Plaintiffs without further
       qualification. Allaham objects to this RFA in that it calls for legal conclusions. Allaham
       objects to this request to the extent that it seeks any information that is protected from
       discovery due to principles of international comity and by Qatar’s sovereign or diplomatic
       immunity and the Vienna Convention on Diplomatic Relations and the Vienna Convention
       on Consular Relations. Allaham will not disclose information regarding his authorized
       activity for Qatar between August 2017 to July 2018. Allaham objects that this RFA seeks
       information that is irrelevant to Plaintiffs’ claims or Allaham’s defenses in this action.

       Subject to and based on these objections, this RFA is denied.

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       3.      Admit that you viewed documents from the Hacked materials, including emails,

which were never published by the media or otherwise made publicly-available.

       ANSWER: Allaham objects that the definition of “you” in this RFA is overbroad in that it
       purports to include within its scope “all representatives, agents, and any other Person from
       whom the information sought is available to [Allaham].” Said definition, as written, seeks
       to impose a discovery obligation on persons who are not party to this litigation. Allaham
       objects to this RFA in that it seeks discovery that goes beyond the scope of what is
       permissible under the Federal Rules of Civil Procedure. Allaham objects that the terms
       “viewed” and “published” are vague and ambiguous. Allaham objects to the phrase
       “Hacked materials” as vague, ambiguous, and overbroad, in that it is defined as materials
       that were “taken from” Plaintiffs or Associates or Employees of Plaintiffs without further
       qualification. Allaham objects to this RFA in that it calls for legal conclusions. Allaham
       objects to this request to the extent that it seeks any information that is protected from
       discovery due to principles of international comity and by Qatar’s sovereign or diplomatic
       immunity and the Vienna Convention on Diplomatic Relations and the Vienna Convention
       on Consular Relations. Allaham will not disclose information regarding his authorized
       activity for Qatar between August 2017 to July 2018. Allaham objects that this RFA seeks
       information that is irrelevant to Plaintiffs’ claims or Allaham’s defenses in this action.

       Subject to and based on these objections, this RFA is denied.

       4.      Admit that you sent documents taken from Plaintiffs or related entities to one or

more journalists.

       ANSWER: Allaham objects that the definition of “you” in this RFA is overbroad in that it
       purports to include within its scope “all representatives, agents, and any other Person from
       whom the information sought is available to [Allaham].” Said definition, as written, seeks
       to impose a discovery obligation on persons who are not party to this litigation. Allaham
       objects to this RFA in that it seeks discovery that goes beyond the scope of what is
       permissible under the Federal Rules of Civil Procedure. Allaham objects that the phrase
       “taken from” is vague and ambiguous, in that it does not specify how said documents were
       purportedly “taken.” Allaham objects to this request to the extent that it seeks any
       information that is protected from discovery due to principles of international comity and
       by Qatar’s sovereign or diplomatic immunity and the Vienna Convention on Diplomatic
       Relations and the Vienna Convention on Consular Relations. Allaham will not disclose
       information regarding his authorized activity for Qatar between August 2017 to July 2018.
       Allaham objects to this RFA in that it calls for legal conclusions. Allaham objects that this
       RFA seeks information that is irrelevant to Plaintiffs’ claims or Allaham’s defenses in this
       action.

       Subject to and based on these objections, this RFA is denied.

       5.      Admit that you had prior knowledge of the hacking of Plaintiffs’ computers, email

accounts, and computer systems as described in the First Amended Complaint before the first

news article based on Hacked materials was published on March 1, 2018.

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       ANSWER: Allaham objects that the definition of “you” in this RFA is overbroad in that it
       purports to include within its scope “all representatives, agents, and any other Person from
       whom the information sought is available to [Allaham].” Said definition, as written, seeks
       to impose a discovery obligation on persons who are not party to this litigation. Allaham
       objects to this RFA in that it seeks discovery that goes beyond the scope of what is
       permissible under the Federal Rules of Civil Procedure. Allaham objects to the phrase
       “prior knowledge” as vague and ambiguous. For purposes of this response, Allaham will
       define “prior knowledge” to mean direct, personal, or first-hand knowledge. Allaham
       objects to this request to the extent that it seeks any information that is protected from
       discovery due to principles of international comity and by Qatar’s sovereign or diplomatic
       immunity and the Vienna Convention on Diplomatic Relations and the Vienna Convention
       on Consular Relations. Allaham will not disclose information regarding his authorized
       activity for Qatar between August 2017 to July 2018. Allaham further objects to the phrase
       “Hacked materials” as vague, ambiguous, and overbroad, in that it is defined as materials
       that were “taken from” Plaintiffs or Associates or Employees of Plaintiffs without further
       qualification. Allaham objects that this RFA seeks information that is irrelevant to
       Plaintiffs’ claims or Allaham’s defenses in this action.

       Subject to and based on these objections, this RFA is denied.

       6.     Admit that you have non-public knowledge of the hacking of Plaintiffs’

computers, email accounts, and computer systems as described in the First Amended Complaint.

       ANSWER: Allaham objects that the definition of “you” in this RFA is overbroad in that it
       purports to include within its scope “all representatives, agents, and any other Person from
       whom the information sought is available to [Allaham].” Said definition, as written, seeks
       to impose a discovery obligation on persons who are not party to this litigation. Allaham
       objects to this RFA in that it seeks discovery that goes beyond the scope of what is
       permissible under the Federal Rules of Civil Procedure. Allaham objects to the phrase “non-
       public knowledge of the hacking” as vague and ambiguous, and in that it calls for legal
       conclusions. For purposes of this response, Allaham will define “knowledge” to mean
       direct, personal, or first-hand knowledge. Allaham objects to this request to the extent that
       it seeks any information that is protected from discovery due to principles of international
       comity and by Qatar’s sovereign or diplomatic immunity and the Vienna Convention on
       Diplomatic Relations and the Vienna Convention on Consular Relations. Allaham will not
       disclose information regarding his authorized activity for Qatar between August 2017 to
       July 2018. Allaham objects that this RFA seeks information that is irrelevant to Plaintiffs’
       claims or Allaham’s defenses in this action.

       Subject to and based on these objections, this RFA is denied.

       7.     Admit that you had knowledge of the hacking of computers, email accounts,

computer systems, or phones of Amb. Yousef Otaiba prior to the date on which the first news

article was published, on or around June 3, 2017, based on materials purportedly obtained during

hacking efforts that targeted Amb. Otaiba.


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       ANSWER: Allaham objects that the definition of “you” in this RFA is overbroad in that it
       purports to include within its scope “all representatives, agents, and any other Person from
       whom the information sought is available to [Allaham].” Said definition, as written, seeks
       to impose a discovery obligation on persons who are not party to this litigation. Allaham
       objects to this RFA in that it seeks discovery that goes beyond the scope of what is
       permissible under the Federal Rules of Civil Procedure. Allaham objects to the phrases
       “knowledge of the hacking of . . . Amb. Yousef Otaiba” and “hacking efforts that targeted
       Amb. Otaiba” as vague and ambiguous, and in that they call for legal conclusions. For
       purposes of this response, Allaham will define “knowledge” to mean direct, personal, or
       first-hand knowledge. Allaham objects to this request to the extent that it seeks any
       information that is protected from discovery due to principles of international comity and
       by Qatar’s sovereign or diplomatic immunity and the Vienna Convention on Diplomatic
       Relations and the Vienna Convention on Consular Relations. Allaham will not disclose
       information regarding his authorized activity for Qatar between August 2017 to July 2018.
       Allaham objects that this RFA seeks information that is irrelevant to Plaintiffs’ claims or
       Allaham’s defenses in this action.

       Subject to and based on these objections, this RFA is denied.

       8.     Admit that you have non-public knowledge of Qatar’s involvement in the hacking

of computers, email accounts, computer systems, or phones of Amb. Yousef Otaiba, including

but not limited to hacking efforts that intercepted communications of American citizens.

       ANSWER: Allaham objects that the definition of “you” in this RFA is overbroad in that it
       purports to include within its scope “all representatives, agents, and any other Person from
       whom the information sought is available to [Allaham].” Said definition, as written, seeks
       to impose a discovery obligation on persons who are not party to this litigation. Allaham
       objects to this RFA in that it seeks discovery that goes beyond the scope of what is
       permissible under the Federal Rules of Civil Procedure. Allaham objects to the definition of
       “Qatar” as vague, ambiguous and overbroad, in that it includes “affiliated entities,” and
       unregistered agents within its scope, which are entities about which Allaham has no
       knowledge. Allaham objects to the phrase “knowledge of Qatar’s involvement in the
       hacking” as vague and ambiguous, and in that it calls for a legal conclusion. For purposes
       of this response, Allaham will define “knowledge” to mean direct, personal, or first-hand
       knowledge. Allaham objects in that this RFA assumes Qatar’s involvement in the alleged
       hack, as Allaham has no knowledge regarding who committed the alleged hack. Allaham
       objects to this request to the extent that it seeks any information that is protected from
       discovery due to principles of international comity and by Qatar’s sovereign or diplomatic
       immunity and the Vienna Convention on Diplomatic Relations and the Vienna Convention
       on Consular Relations. Allaham will not disclose information regarding his authorized
       activity for Qatar between August 2017 to July 2018. Allaham objects that this RFA seeks
       information that is irrelevant to Plaintiffs’ claims or Allaham’s defenses in this action.

       Subject to and based on these objections, this RFA is denied.




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       9.     Admit that you have knowledge of Qatar’s involvement in the hacking of

computers, email accounts, computer systems, or phones of other American citizens besides

Broidy and his Employees and Associates.

       ANSWER: Allaham objects that the definition of “you” in this RFA is overbroad in that it
       purports to include within its scope “all representatives, agents, and any other Person from
       whom the information sought is available to [Allaham].” Said definition, as written, seeks
       to impose a discovery obligation on persons who are not party to this litigation. Allaham
       objects to this RFA in that it seeks discovery that goes beyond the scope of what is
       permissible under the Federal Rules of Civil Procedure. Allaham objects to the definition of
       “Qatar” as vague, ambiguous and overbroad, in that it includes “affiliated entities,” and
       unregistered agents within its scope, which are entities about which Allaham has no
       knowledge. Allaham objects to the phrase “knowledge of Qatar’s involvement in the
       hacking” as vague and ambiguous, and in that it calls for a legal conclusion. For purposes
       of this response, Allaham will define “knowledge” to mean direct, personal, or first-hand
       knowledge. Allaham objects in that this RFA assumes Qatar’s involvement in the alleged
       hack, as Allaham has no knowledge regarding who committed the alleged hack. Allaham
       objects to this request to the extent that it seeks any information that is protected from
       discovery due to principles of international comity and by Qatar’s sovereign or diplomatic
       immunity and the Vienna Convention on Diplomatic Relations and the Vienna Convention
       on Consular Relations. Allaham will not disclose information regarding his authorized
       activity for Qatar between August 2017 to July 2018. Allaham objects that this RFA seeks
       information that is irrelevant to Plaintiffs’ claims or Allaham’s defenses in this action.

       Subject to and based on these objections, this RFA is denied.

       10.    Admit that you have knowledge of one or more of the parties involved in creating

or modifying the Forged Russian documents.

       ANSWER: Allaham objects that the definition of “you” in this RFA is overbroad in that it
       purports to include within its scope “all representatives, agents, and any other Person from
       whom the information sought is available to [Allaham].” Said definition, as written, seeks
       to impose a discovery obligation on persons who are not party to this litigation. Allaham
       objects to this RFA in that it seeks discovery that goes beyond the scope of what is
       permissible under the Federal Rules of Civil Procedure. Allaham objects in that this RFA
       assumes the existence of “Forged Russian Documents,” as Allaham has no knowledge of
       the existence of such documents. Allaham objects to this request to the extent that it seeks
       any information that is protected from discovery due to principles of international comity
       and by Qatar’s sovereign or diplomatic immunity and the Vienna Convention on
       Diplomatic Relations and the Vienna Convention on Consular Relations. Allaham will not
       disclose information regarding his authorized activity for Qatar between August 2017 to
       July 2018. Allaham objects to the phrases “knowledge of” and “involvement in creating or
       modifying” as vague and ambiguous. For purposes of this response, Allaham will define
       “knowledge” to mean direct, personal, or first-hand knowledge. Allaham objects that this
       RFA seeks information that is irrelevant to Plaintiffs’ claims or Allaham’s defenses in this
       action.


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       Subject to and based on these objections, this RFA is denied.

       11.    Admit that you have knowledge of one or more of the parties involved in

disseminating the Forged Russian documents, or who were otherwise working with media outlets

who were in possession of the Forged Russian documents.

       ANSWER: Allaham objects that the definition of “you” in this RFA is overbroad in that it
       purports to include within its scope “all representatives, agents, and any other Person from
       whom the information sought is available to [Allaham].” Said definition, as written, seeks
       to impose a discovery obligation on persons who are not party to this litigation. Allaham
       objects to this RFA in that it seeks discovery that goes beyond the scope of what is
       permissible under the Federal Rules of Civil Procedure. Allaham objects to the phrases
       “knowledge of” and “involvement in disseminating” as vague and ambiguous. For
       purposes of this response, Allaham will define “knowledge” to mean direct, personal, or
       first-hand knowledge. Allaham objects to this request to the extent that it seeks any
       information that is protected from discovery due to principles of international comity and
       by Qatar’s sovereign or diplomatic immunity and the Vienna Convention on Diplomatic
       Relations and the Vienna Convention on Consular Relations. Allaham will not disclose
       information regarding his authorized activity for Qatar between August 2017 to July 2018.
       Allaham objects that this RFA seeks information that is irrelevant to Plaintiffs’ claims or
       Allaham’s defenses in this action.

       Subject to and based on these objections, this RFA is denied.

       12.    Admit that you have knowledge of efforts after the filing of the First Amended

Complaint to hack the phones, computers, email accounts, or computer systems of Plaintiffs or

any of Broidy’s associates or employees.

       ANSWER: Allaham objects that the definition of “you” in this RFA is overbroad in that it
       purports to include within its scope “all representatives, agents, and any other Person from
       whom the information sought is available to [Allaham].” Said definition, as written, seeks
       to impose a discovery obligation on persons who are not party to this litigation. Allaham
       objects to this RFA in that it seeks discovery that goes beyond the scope of what is
       permissible under the Federal Rules of Civil Procedure. Allaham objects to the phrase
       “knowledge of efforts” as vague and ambiguous. For purposes of this response, Allaham
       will define “knowledge” to mean direct, personal, or first-hand knowledge. Allaham
       objects that this RFA seeks information that is irrelevant to Plaintiffs’ claims or Allaham’s
       defenses in this action.

       Subject to and based on these objections, this RFA is denied.

       13.    Admit that you have knowledge of non-Qatari citizen agents or representatives of

Qatar who were involved in the hacking of the phones, computers, email accounts, or computer




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systems of Plaintiffs or any of Plaintiff’s Associates, Employees, or Broidy’s wife, Robin

Rosenzweig.

       ANSWER: Allaham objects that the definition of “you” in this RFA is overbroad in that it
       purports to include within its scope “all representatives, agents, and any other Person from
       whom the information sought is available to [Allaham].” Said definition, as written, seeks
       to impose a discovery obligation on persons who are not party to this litigation. Allaham
       objects to this RFA in that it seeks discovery that goes beyond the scope of what is
       permissible under the Federal Rules of Civil Procedure. Allaham objects to the definition of
       “Qatar” as vague, ambiguous and overbroad, in that it includes “affiliated entities,” and
       unregistered agents within its scope, which are entities about which Allaham has no
       knowledge. Allaham objects that this RFA is overbroad in that it is not limited in time and
       encompasses knowledge based on publicly available information. Allaham objects to the
       phrase “knowledge of” as vague and ambiguous. Allaham objects to the phrase “involved
       in the hacking of” as vague, ambiguous, and in that it calls for a legal conclusion. For
       purposes of this response, Allaham will define “knowledge” to mean direct, personal, or
       first-hand knowledge. Allaham objects in that this RFA assumes Qatar’s involvement in the
       alleged hack, as Allaham has no knowledge regarding who committed the alleged hack.
       Allaham objects to this request to the extent that it seeks any information that is protected
       from discovery due to principles of international comity and by Qatar’s sovereign or
       diplomatic immunity and the Vienna Convention on Diplomatic Relations and the Vienna
       Convention on Consular Relations. Allaham will not disclose information regarding his
       authorized activity for Qatar between August 2017 to July 2018. Allaham objects to the
       phrase “non-Qatari citizen agents or representatives of Qatar” as vague and ambiguous and
       in that it calls for a legal conclusion. Allaham objects that this RFA seeks information that
       is irrelevant to Plaintiffs’ claims or Allaham’s defenses in this action.

       Subject to and based on these objections, Allaham denies this RFA.


       14.     Admit that you have knowledge of non-Qatari citizen agents or representatives of

Qatar who were involved in the creation or modification of the Hacked materials, as described in

the First Amended Complaint.

       ANSWER: Allaham objects that the definition of “you” in this RFA is overbroad in that it
       purports to include within its scope “all representatives, agents, and any other Person from
       whom the information sought is available to [Allaham].” Said definition, as written, seeks
       to impose a discovery obligation on persons who are not party to this litigation. Allaham
       objects to this RFA in that it seeks discovery that goes beyond the scope of what is
       permissible under the Federal Rules of Civil Procedure. Allaham objects to the definition of
       “Qatar” as vague, ambiguous and overbroad, in that it includes “affiliated entities,” and
       unregistered agents within its scope, which are entities about which Allaham has no
       knowledge. Allaham objects that this RFA is overbroad in that it is not limited in time and
       encompasses knowledge based on publicly available information. Allaham objects to the
       phrases “knowledge of,” “involved in,” and “creation or modification” as vague and
       ambiguous. For purposes of this response, Allaham will define “knowledge” to mean
       direct, personal, or first-hand knowledge. Allaham objects in that this RFA assumes

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       Qatar’s involvement in the alleged hack, as Allaham has no knowledge regarding who
       committed the alleged hack. Allaham objects to the phrase “non-Qatari citizen agents or
       representatives of Qatar” as vague and ambiguous and in that it calls for a legal conclusion.
       Allaham objects to this request to the extent that it seeks any information that is protected
       from discovery due to principles of international comity and by Qatar’s sovereign or
       diplomatic immunity and the Vienna Convention on Diplomatic Relations and the Vienna
       Convention on Consular Relations. Allaham will not disclose information regarding his
       authorized activity for Qatar between August 2017 to July 2018. Allaham objects to the
       phrase “Hacked materials” as vague, ambiguous, and overbroad, in that it is defined as
       materials that were “taken from” Plaintiffs or Associates or Employees of Plaintiffs without
       further qualification. Allaham objects that this RFA seeks information that is irrelevant to
       Plaintiffs’ claims or Allaham’s defenses in this action.

       Subject to and based on these objections, Allaham denies this RFA.

       15.    Admit that you have knowledge of non-Qatari citizen agents or representatives of

Qatar who were involved in disseminating the Hacked materials to the media or anyone else, or

who were otherwise working with media outlets who were in possession of the Hacked materials

as described in the First Amended Complaint.

       ANSWER: Allaham objects that the definition of “you” in this RFA is overbroad in that it
       purports to include within its scope “all representatives, agents, and any other Person from
       whom the information sought is available to [Allaham].” Said definition, as written, seeks
       to impose a discovery obligation on persons who are not party to this litigation. Allaham
       objects to this RFA in that it seeks discovery that goes beyond the scope of what is
       permissible under the Federal Rules of Civil Procedure. Allaham objects to the definition of
       “Qatar” as vague, ambiguous and overbroad, in that it includes “affiliated entities,” and
       unregistered agents within its scope, which are entities about which Allaham has no
       knowledge. Allaham objects that this RFA is overbroad in that it is not limited in time and
       encompasses knowledge based on publicly available information. Allaham objects in that
       this RFA assumes Qatar’s involvement in the alleged hack, as Allaham has no knowledge
       regarding who committed the alleged hack. Allaham objects to this request to the extent
       that it seeks any information that is protected from discovery due to principles of
       international comity and by Qatar’s sovereign or diplomatic immunity and the Vienna
       Convention on Diplomatic Relations and the Vienna Convention on Consular Relations.
       Allaham will not disclose information regarding his authorized activity for Qatar between
       August 2017 to July 2018. Allaham objects to the phrases “knowledge of,” and “involved
       in disseminating,” as vague and ambiguous. Allaham objects to the phrase “non-Qatari
       citizen agents or representatives of Qatar” as vague and ambiguous and in that it calls for a
       legal conclusion. For purposes of this response, Allaham will define “knowledge” to mean
       direct, personal, or first-hand knowledge. Allaham objects to the phrase “Hacked
       materials” as vague, ambiguous, and overbroad, in that it is defined as materials that were
       “taken from” Plaintiffs or Associates or Employees of Plaintiffs without further
       qualification. Allaham objects that this RFA seeks information that is irrelevant to
       Plaintiffs’ claims or Allaham’s defenses in this action.

       Subject to and based on these objections, Allaham denies this RFA.

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         16.    Admit that you have previously communicated with GRA.

         ANSWER: Allaham objects that the definition of “you” in this RFA is overbroad in that it
         purports to include within its scope “all representatives, agents, and any other Person from
         whom the information sought is available to [Allaham].” Said definition, as written, seeks
         to impose a discovery obligation on persons who are not party to this litigation. Allaham
         objects to this RFA in that it seeks discovery that goes beyond the scope of what is
         permissible under the Federal Rules of Civil Procedure. Allaham objects to this request to
         the extent that it seeks any information that is protected from discovery due to principles of
         international comity and by Qatar’s sovereign or diplomatic immunity and the Vienna
         Convention on Diplomatic Relations and the Vienna Convention on Consular Relations.
         Allaham will not disclose information regarding his authorized activity for Qatar between
         August 2017 to July 2018. Allaham objects that this RFA is overbroad in that it is not
         limited in time. Allaham objects that this RFA seeks information that is irrelevant to
         Plaintiffs’ claims or Allaham’s defenses in this action.

         Subject to and based on these objections, this RFA is denied.

         17.    Admit that you have previously discussed Broidy with Qatar.

         ANSWER: Allaham objects that the definition of “you” in this RFA is overbroad in that it
         purports to include within its scope “all representatives, agents, and any other Person from
         whom the information sought is available to [Allaham].” Said definition, as written, seeks
         to impose a discovery obligation on persons who are not party to this litigation. Allaham
         objects to this RFA in that it seeks discovery that goes beyond the scope of what is
         permissible under the Federal Rules of Civil Procedure. Allaham objects to the definition
         of “Qatar” as vague, ambiguous and overbroad, in that it includes “affiliated entities,” and
         unregistered agents within its scope, which are entities about which Allaham has no
         knowledge. Allaham objects to this request to the extent that it seeks any information that
         is protected from discovery due to principles of international comity and by Qatar’s
         sovereign or diplomatic immunity and the Vienna Convention on Diplomatic Relations and
         the Vienna Convention on Consular Relations. Allaham will not disclose information
         regarding his authorized activity for Qatar between August 2017 to July 2018. Allaham
         objects that this RFA is overbroad in that it is not limited in time. Allaham objects that this
         RFA seeks information that is irrelevant to Plaintiffs’ claims or Allaham’s defenses in this
         action. Allaham also objects to this RFA as it seeks information that is protected from
         disclosure by Qatar’s sovereign immunity and the Vienna Conventions.

         Subject to and based on these objections, this RFA is denied.

         18.    Admit that you performed work relating to Broidy in exchange for payment from

Qatar.

         ANSWER: Allaham objects that the definition of “you” in this RFA is overbroad in that it
         purports to include within its scope “all representatives, agents, and any other Person from
         whom the information sought is available to [Allaham].” Said definition, as written, seeks
         to impose a discovery obligation on persons who are not party to this litigation. Allaham
         objects to this RFA in that it seeks discovery that goes beyond the scope of what is
         permissible under the Federal Rules of Civil Procedure. Allaham objects to the definition

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       of “Qatar” as overbroad in that it includes “sovereign wealth funds,” “affiliated entities,”
       and “agents, whether registered or unregistered” within its scope. Allaham objects that this
       RFA is overbroad in that it is not limited in time. Allaham objects that this RFA seeks
       information that is irrelevant to Plaintiffs’ claims or Allaham’s defenses in this action.
       Allaham objects to the phrases “work,” “relating to Broidy” and “in exchange for payment
       from Qatar” as vague and ambiguous. Allaham also objects to this RFA as it seeks
       information that is protected from disclosure due to principles of international comity and
       by Qatar’s sovereign immunity and the Vienna Conventions.

       Subject to and based on these objections, denies the this RFA.

       19.    Admit that you performed work relating to Broidy in exchange for payment from

others besides the State of Qatar and Blue Fort Public Relations, LLC.

       ANSWER: Allaham objects that the definition of “you” in this RFA is overbroad in that it
       purports to include within its scope “all representatives, agents, and any other Person from
       whom the information sought is available to [Allaham].” Said definition, as written, seeks
       to impose a discovery obligation on persons who are not party to this litigation. Allaham
       objects to this RFA in that it seeks discovery that goes beyond the scope of what is
       permissible under the Federal Rules of Civil Procedure. Allaham objects to the definition
       of “Qatar” as vague, ambiguous and overbroad, in that it includes “affiliated entities,” and
       unregistered agents within its scope, which are entities about which Allaham has no
       knowledge. Allaham objects that this RFA is overbroad in that it is not limited in time.
       Allaham objects that this RFA seeks information that is irrelevant to Plaintiffs’ claims or
       Allaham’s defenses in this action.

       Subject to and based on these objections, this RFA is denied.

       20.    Admit that Broidy was discussed at meetings at which you were present with other

non-Qatari citizens at the Qatar Embassy in Washington, D.C.

       ANSWER: Allaham objects that the definition of “you” in this RFA is overbroad in that it
       purports to include within its scope “all representatives, agents, and any other Person from
       whom the information sought is available to [Allaham].” Said definition, as written, seeks
       to impose a discovery obligation on persons who are not party to this litigation. Allaham
       objects to this RFA in that it seeks discovery that goes beyond the scope of what is
       permissible under the Federal Rules of Civil Procedure. Allaham objects to the definition
       of “Qatar” as vague, ambiguous and overbroad, in that it includes “affiliated entities,” and
       unregistered agents within its scope, which are entities about which Allaham has no
       knowledge. Allaham objects that this RFA seeks information that is irrelevant to Plaintiffs’
       claims or Allaham’s defenses in this action. Allaham objects to this request to the extent
       that it seeks any information that is protected from discovery due to principles of
       international comity and by Qatar’s sovereign or diplomatic immunity and the Vienna
       Convention on Diplomatic Relations and the Vienna Convention on Consular Relations.
       Allaham will not disclose information regarding his authorized activity for Qatar between
       August 2017 to July 2018.

       Subject to and based on these objections, this RFA is denied.

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        21.     Admit that you have communicated with journalists about Broidy prior to the

filing of this lawsuit.

        ANSWER: Allaham objects that the definition of “you” in this RFA is overbroad in that it
        purports to include within its scope “all representatives, agents, and any other Person from
        whom the information sought is available to [Allaham].” Said definition, as written, seeks
        to impose a discovery obligation on persons who are not party to this litigation. Allaham
        objects to this RFA in that it seeks discovery that goes beyond the scope of what is
        permissible under the Federal Rules of Civil Procedure. Allaham objects to the phrase
        “communicated with journalists about Broidy” as vague and ambiguous. Allaham objects
        that this RFA seeks information that is irrelevant to Plaintiffs’ claims or Allaham’s defenses
        in this action.

        Subject to and based on these objections, Allaham admits that he communicated with
        journalists prior to the filing of this lawsuit, but only regarding publicly available
        information and after the filing of the Broidy action in the Central District of California.
        Allaham otherwise denies this RFA.

        22.     Admit that you have communicated with Jamal Benomar about Broidy prior to the

filing of this lawsuit.

        ANSWER: Allaham objects that the definition of “you” in this RFA is overbroad in that it
        purports to include within its scope “all representatives, agents, and any other Person from
        whom the information sought is available to [Allaham].” Said definition, as written, seeks
        to impose a discovery obligation on persons who are not party to this litigation. Allaham
        objects to this RFA in that it seeks discovery that goes beyond the scope of what is
        permissible under the Federal Rules of Civil Procedure. Allaham objects to the phrase
        “communicated with Jamal Benomar about Broidy” as vague and ambiguous. Allaham
        objects that this RFA seeks information that is irrelevant to Plaintiffs’ claims or Allaham’s
        defenses in this action. Allaham objects to this request to the extent that it seeks any
        information that is protected from discovery due to principles of international comity and
        by Qatar’s sovereign or diplomatic immunity and the Vienna Convention on Diplomatic
        Relations and the Vienna Convention on Consular Relations. Allaham will not disclose
        information regarding his authorized activity for Qatar between August 2017 to July 2018.

        Subject to and based on these objections, this RFA is denied.

        23.     Admit that you have communicated with Ahmad Nimeh about Broidy prior to the

filing of this lawsuit.

        ANSWER: Allaham objects that the definition of “you” in this RFA is overbroad in that it
        purports to include within its scope “all representatives, agents, and any other Person from
        whom the information sought is available to [Allaham].” Said definition, as written, seeks
        to impose a discovery obligation on persons who are not party to this litigation. Allaham
        objects to this RFA in that it seeks discovery that goes beyond the scope of what is
        permissible under the Federal Rules of Civil Procedure. Allaham objects to the phrase

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        “communicated with Ahmad Nimeh about Broidy” as vague and ambiguous. Allaham
        objects to this request to the extent that it seeks any information that is protected from
        discovery due to principles of international comity and by Qatar’s sovereign or diplomatic
        immunity and the Vienna Convention on Diplomatic Relations and the Vienna Convention
        on Consular Relations. Allaham will not disclose information regarding his authorized
        activity for Qatar between August 2017 to July 2018. Allaham objects that this RFA seeks
        information that is irrelevant to Plaintiffs’ claims or Allaham’s defenses in this action.

        Subject to and based on these objections, this RFA is denied.

        24.        Admit that you have communicated with Patrick Theros about Broidy prior to the

filing of this lawsuit.

        ANSWER: Allaham objects that the definition of “you” in this RFA is overbroad in that it
        purports to include within its scope “all representatives, agents, and any other Person from
        whom the information sought is available to [Allaham].” Said definition, as written, seeks
        to impose a discovery obligation on persons who are not party to this litigation. Allaham
        objects to this RFA in that it seeks discovery that goes beyond the scope of what is
        permissible under the Federal Rules of Civil Procedure. Allaham objects to the phrase
        “communicated with Patrick Theros about Broidy” as vague and ambiguous. Allaham
        objects to this request to the extent that it seeks any information that is protected from
        discovery due to principles of international comity and by Qatar’s sovereign or diplomatic
        immunity and the Vienna Convention on Diplomatic Relations and the Vienna Convention
        on Consular Relations. Allaham will not disclose information regarding his authorized
        activity for Qatar between August 2017 to July 2018. Allaham objects that this RFA seeks
        information that is irrelevant to Plaintiffs’ claims or Allaham’s defenses in this action.

        Subject to and based on these objections, this RFA is denied.

        25.        Admit that you have communicated with Howard about Broidy prior to the filing

of this lawsuit.

        ANSWER: Allaham objects that the definition of “you” in this RFA is overbroad in that it
        purports to include within its scope “all representatives, agents, and any other Person from
        whom the information sought is available to [Allaham].” Said definition, as written, seeks
        to impose a discovery obligation on persons who are not party to this litigation. Allaham
        objects to this RFA in that it seeks discovery that goes beyond the scope of what is
        permissible under the Federal Rules of Civil Procedure. Allaham objects to the phrase
        “communicated with Howard about Broidy” as vague and ambiguous. Allaham objects to
        this request to the extent that it seeks any information that is protected from discovery due
        to principles of international comity and by Qatar’s sovereign or diplomatic immunity and
        the Vienna Convention on Diplomatic Relations and the Vienna Convention on Consular
        Relations. Allaham will not disclose information regarding his authorized activity for Qatar
        between August 2017 to July 2018. Allaham objects that this RFA seeks information that is
        irrelevant to Plaintiffs’ claims or Allaham’s defenses in this action.

        Subject to and based on these objections, this RFA is denied.

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        26.     Admit that you have communicated with Muzin about Broidy prior to the filing of

this lawsuit.

        ANSWER: Allaham objects that the definition of “you” in this RFA is overbroad in that it
        purports to include within its scope “all representatives, agents, and any other Person from
        whom the information sought is available to [Allaham].” Said definition, as written, seeks
        to impose a discovery obligation on persons who are not party to this litigation. Allaham
        objects to this RFA in that it seeks discovery that goes beyond the scope of what is
        permissible under the Federal Rules of Civil Procedure. Allaham objects to the phrase
        “communicated with Muzin about Broidy” as vague and ambiguous. Allaham objects to
        this request to the extent that it seeks any information that is protected from discovery due
        to principles of international comity and by Qatar’s sovereign or diplomatic immunity and
        the Vienna Convention on Diplomatic Relations and the Vienna Convention on Consular
        Relations. Allaham will not disclose information regarding his authorized activity for Qatar
        between August 2017 to July 2018. Allaham objects that this RFA seeks information that is
        irrelevant to Plaintiffs’ claims or Allaham’s defenses in this action.

        Subject to and based on these objections, this RFA is admitted. Although privileged and
        protected, the fact that Allaham communicated with Muzin about Broidy has been disclosed
        and has been broadly disseminated, including by Plaintiffs in the First Amended Complaint,
        ECF No. 18-2.

        27.     Admit that you have communicated with Tucker Eskew about Broidy prior to the

filing of this lawsuit.

        ANSWER: Allaham objects that the definition of “you” in this RFA is overbroad in that it
        purports to include within its scope “all representatives, agents, and any other Person from
        whom the information sought is available to [Allaham].” Said definition, as written, seeks
        to impose a discovery obligation on persons who are not party to this litigation. Allaham
        objects to this RFA in that it seeks discovery that goes beyond the scope of what is
        permissible under the Federal Rules of Civil Procedure. Allaham objects to the phrase
        “communicated with Tucker Eskew about Broidy” as vague and ambiguous. Allaham
        objects to this request to the extent that it seeks any information that is protected from
        discovery due to principles of international comity and by Qatar’s sovereign or diplomatic
        immunity and the Vienna Convention on Diplomatic Relations and the Vienna Convention
        on Consular Relations. Allaham will not disclose information regarding his authorized
        activity for Qatar between August 2017 to July 2018. Allaham objects that this RFA seeks
        information that is irrelevant to Plaintiffs’ claims or Allaham’s defenses in this action.

        Subject to and based on these objections, this RFA is denied.

        28.     Admit that you have communicated with Krista Madaio about Broidy, any Broidy

Associate, or Broidy’s wife, Robin Rosenzweig, prior to the filing of this lawsuit.

        ANSWER: Allaham objects that the definition of “you” in this RFA is overbroad in that it
        purports to include within its scope “all representatives, agents, and any other Person from

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whom the information sought is available to [Allaham].” Said definition, as written, seeks
to impose a discovery obligation on persons who are not party to this litigation. Allaham
objects to this RFA in that it seeks discovery that goes beyond the scope of what is
permissible under the Federal Rules of Civil Procedure. Allaham objects to this request to
the extent that it seeks any information that is protected from discovery due to principles of
international comity and by Qatar’s sovereign or diplomatic immunity and the Vienna
Convention on Diplomatic Relations and the Vienna Convention on Consular Relations.
Allaham will not disclose information regarding his authorized activity for Qatar between
August 2017 to July 2018. Allaham objects to the phrase “communicated with Krista
Madaio about Broidy, any Broidy Associate, or Broidy’s wife, Robin Rosenzweig” as
vague and ambiguous. Allaham objects that this RFA seeks information that is irrelevant to
Plaintiffs’ claims or Allaham’s defenses in this action.

Subject to and based on these objections, this RFA is denied.




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Dated: December 22, 2021

                                         /s/ Randall A. Brater
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                                         New York, NY 10019
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                                         Counsel for Defendant Joseph Allaham
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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 BROIDY CAPITAL
 MANAGEMENT LLC, et al.,
                                                      Case No. 1:19CV150 (DLF)
               Plaintiffs,

         v.

 NICOLAS D. MUZIN, et al.,

               Defendants.



    OBJECTIONS AND RESPONSES TO PLAINTIFFS’ FIRST INTERROGATORIES
                    TO DEFENDANT JOSEPH ALLAHAM

       Pursuant to Rules 26 and 33 of the Federal Rules of Civil Procedure and Local Civil Rule

26.2(d), Defendant Joseph Allaham, by and through his attorneys, Arent Fox LLP, responds to

Plaintiffs Broidy Capital Management, LLC’s and Elliot Broidy’s (“Plaintiffs’”) First Set of

Interrogatories to Allaham (the “Interrogatories”) as follows:

                                    GENERAL OBJECTIONS

       1.      Allaham objects to the definitions of “Allaham,” “you,” and “your” as overbroad,

in that they purport to include within their scope “all representatives, agents, and any other

Person from whom the information sought is available to [Allaham].”               Said definition, as

written, seeks to impose a discovery obligation on persons who are not party to this litigation.

       2.      Allaham objects to the definition of “Qatar” in the RFAs as vague, ambiguous,

and overbroad, in that it includes “affiliated entities,” and unregistered entities within its scope.

       3.      Allaham objects to the definition of “Hacked materials” as vague, ambiguous, and

overbroad because it is defined as materials that were “taken from” Plaintiffs or Associates or



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Employees of Plaintiffs without further qualification.       Said definition does not specify the

manner in which said materials were “taken,” and includes within its scope materials that were

lawfully obtained.

       4.      Allaham objects to the Interrogatories to the extent they seek information that is

protected by the attorney-client privilege, the work product immunity or any other applicable

protection or immunity.

       5.      Allaham objects to the Interrogatories to the extent they seek information that is

subject to protection under the Vienna Convention on Diplomatic Relations and/or the Vienna

Convention on Consular Relations. Discovery materials are absolutely protected from disclosure

under the Vienna Conventions, which provide that the documents and information of a

diplomatic mission are “inviolable at any time and wherever they may be.” Vienna Convention

on Diplomatic Relations, art. 24, Apr. 18, 1961, 23 U.S.T. 3227, 500 U.N.T.S. 95, 108; see also

Vienna Convention on Consular Relations and Optional Protocol on Disputes, art. 33, Apr. 24,

1963, 21 U.S.T. 77, 596 U.N.T.S. 261, 289 (providing the same inviolability for consular

archives). The Ninth Circuit has also determined that Qatar is immune from suit. See Broidy

Capital Mgmt., LLC v. Qatar, 982 F.3d 582, 586 (9th Cir. 2020). That means not only that Qatar

has “immunity from trial” but also from “the attendant burdens of litigation.”           Kilburn v.

Socialist People’s Libyan Arab Jamahiriya, 376 F.3d 1123, 1126 (D.C. Cir. 2004) (quoting

Jungquist v. Sheikh Sultan Bin Khalifa Al Nahyan, 115 F.3d 1020, 1026 (D.C. Cir. 1997)).

       6.      Allaham objects to the Interrogatories to the extent they seek information

contained in documents and correspondence that are protected by principles of international

comity in light of Qatar’s interest in maintaining the confidentiality of information that relates to

its governmental policies. See Notice of Interest by Non-Party State of Qatar, ECF No. 66 (Oct.



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21, 2021); see also Societe Nationale Industrielle Aerospatiale v. U.S. Dist. Ct. for S. Dist. of

Iowa, 482 U.S. 522, 546 (1987).

       7.      Allaham reserves his right to supplement or correct his answers to these

interrogatories.

       8.      Each of Allaham’s responses set forth below is made subject to, and without

waiving, Allaham’s stated objections to the corresponding interrogatory.

                       SPECIFIC RESPONSES TO INTERROGATORIES

       1.          Identify all Persons having knowledge of any fact alleged in the pleadings and,

for each person, please state all facts about which the Person has knowledge and the Person’s

last known address and telephone number.

       ANSWER: Allaham objects to this interrogatory as vague and ambiguous, in that it does
       not specify what “pleadings” it is directed to. To the extent the term “pleadings” includes
       the Complaint and other documents containing allegations drafted by Plaintiffs, Allaham
       objects that in this context the term “fact” is vague and ambiguous. Allaham objects to
       the extent this interrogatory asks him to speculate as to what knowledge Persons other
       than himself have concerning “facts” contained in unspecified pleadings. Allaham is
       only able to identify Persons having knowledge of facts relating to his defenses in this
       action. Allaham objects that this interrogatory is overbroad and unduly burdensome in
       that it asks for an identification of all Persons having knowledge of any fact alleged in the
       pleadings, and all facts about which the Person has knowledge, without further limitation.

       Subject to and based on these objections, Allaham responds as follows:

             Name                       Contact Address and           Facts About Which the
                                         Telephone Number             Person Has Knowledge
 Joseph Allaham                     Arent Fox LLP                  Allaham has knowledge of
                                    Eric Roman, Esq.               the scope and nature of the
                                    1301 Avenue of the             work he performed for Qatar,
                                    Americas, 42nd Floor           his lack of involvement in the
                                    New York, NY 10019             alleged hacking described in
                                    (212) 484-3900                 the First Amended
                                                                   Complaint, when he first
                                                                   learned of the alleged
                                                                   hacking, and his lack of any
                                                                   firsthand knowledge
                                                                   concerning the alleged
                                                                   hacking.

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Dr. Nicolas Muzin           Wiley Rein LLP                Muzin is expected to have
                            Stephen J. Obermeier, Esq.    knowledge of the scope and
                            1776 K Street, N.W.           nature of the work that
                            Washington, DC 20006          Allaham performed for Qatar.
                            (202) 719-7000

Greg Howard                 Walden Macht & Haran LLP      Howard is expected to have
                            Jeffrey Udell, Esq.           knowledge concerning the
                            250 Vesey Street              allegations in the First
                            New York, NY 10281            Amended Complaint
                            (212) 335-2030                regarding Howard.
                                                          .
Elliot Broidy               Kasowitz Benson Torres LLP    Mr. Broidy is expected to
                            Henry Brownstein, Esq.        have knowledge of the nature
                            1399 New York Ave., N.W.,     and extent of any pre-lawsuit
                            Suite 201                     investigation concerning the
                            Washington, D.C. 20005        claims against the Defendant
                            (202) 763-3403                Allaham, the decision to
                                                          include Allaham as a named
                                                          defendant in this litigation,
                                                          the allegations made in the
                                                          First Amended Complaint,
                                                          and the results of any forensic
                                                          investigation into the alleged
                                                          hacking described in the First
                                                          Amended Complaint.

Jamal Benomar               Winston & Strawn LLP          Benomar is expected to have
                            Abbe David Lowell, Esq.       knowledge of the scope and
                            200 Park Avenue               nature of Allaham’s work
                            New York, NY 10166            performed for Qatar.
                            (212) 294-6700

Ali Al-Thawadi              Ministry of Foreign Affairs   Ali Al-Thawadi is expected
                            State of Qatar                to have knowledge of the
                            Almirqab Tower, West Bay,     scope and nature of the work
                            Doha, Qatar                   that Allaham performed for
                            Tel: (+974) 4011-11-11        Qatar.

Hassan Al-Thawadi           Ministry of Foreign Affairs   Hassan Al-Thawadi is
                            State of Qatar                expected to have knowledge
                            Almirqab Tower, West Bay,     of the scope and nature of the
                            Doha, Qatar                   work that Allaham performed
                            Tel: (+974) 4011-11-11        for Qatar.

Dr. Khaled bin Mohamed Al   Ministry of Foreign Affairs   Dr. Khaled bin Mohamed Al

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 Attiyah                          State of Qatar                  Attiyah is expected to have
                                  Almirqab Tower, West Bay,       knowledge of the scope and
                                  Doha, Qatar                     nature of the work that
                                  Tel: (+974) 4011-11-11          Allaham performed for Qatar.

 Mohammed bin Hamad Al            Ministry of Foreign Affairs     Mohammed bin Hamad Al
 Thani                            State of Qatar                  Thani is expected to have
                                  Almirqab Tower, West Bay,       knowledge of the scope and
                                  Doha, Qatar                     nature of the work that
                                  Tel: (+974) 4011-11-11          Allaham performed for Qatar.



       2.      Identify each journalist and reporter with whom you have previously discussed

any topics related to Broidy, and provide the date and substance of the discussion.

       ANSWER: Allaham objects to the definition of “you,” as overbroad, in that it purports
       to include within its scope “all representatives, agents, and any other Person from whom
       the information sought is available to [Allaham].” Said definition, as written, seeks to
       impose a discovery obligation on persons who are not party to this litigation. Allaham
       objects to this interrogatory in that the phrase “any topics related to Broidy” is vague,
       ambiguous, and overbroad, in that encompasses information that is irrelevant to Broidy’s
       claims or Allaham’s defenses in this action. Allaham objects to the phrase “previously
       discussed” as overbroad, in that it is unlimited in time and that it does not specify any
       medium for said “discussions.”

       Subject to and based on these objections, Allaham responds that he had oral
       conversations with several journalists or reporters starting after the date Broidy publicly
       identified Allaham in a complaint filed in California on March 26, 2018. The substance
       of the initial discussions were primarily about Broidy’s mischaracterizations about
       Allaham as being involved in the alleged hacking. Subsequent conversations involved
       materials already in the public domain or regarding the lawsuit, and in no instance
       included providing any reporter or journalist with any hacked materials or any analysis of
       the hacked materials. The names of the reporters and the dates of the conversations are
       not known at this time, but Allaham is diligently gathering information to answer this
       interrogatory and will provide responsive information when it becomes available.
       Allaham further responds that, subject to and based on his objections, information
       responsive to this interrogatory will be contained in his upcoming document production,
       and that as those documents are produced that Allaham will update these responses with
       specific document references in accordance with Federal Rule of Civil Procedure 33(d).

       3.      Describe each proposal, report, status update, or any other type of information

you shared with Qatar or others that contained any mention or discussion of Plaintiffs or related



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entities, including planned or published media accounts about Broidy, the Hacked Materials, or

the Forged Russian documents at any time between March 1, 2017 and December 31, 2019.

       ANSWER: Allaham objects to the definition of “you,” as overbroad, in that it purports to
       include within its scope “all representatives, agents, and any other Person from whom the
       information sought is available to [Allaham].” Said definition, as written, seeks to
       impose a discovery obligation on persons who are not party to this litigation. Allaham
       objects to this interrogatory as overbroad in that it requests materials that contained any
       mention or discussion of Plaintiffs or related entities, without further limitation, because
       said request encompasses within its scope information that is irrelevant to Broidy’s
       claims or Allaham’s defenses in this action. Allaham objects to the phrases “Hacked
       Materials” and “Forged Russian documents” as being vague, ambiguous, and in that they
       call for legal conclusions. Allaham objects to the phrase “proposal, report, status update,
       or any other type of information you shared with Qatar or others” as vague and
       ambiguous, and for purposes of his responses states that he understands said phrase to
       refer to information “shared” in writing. Allaham objects to this interrogatory to the
       extent that it seeks information protected due to principles of international comity and by
       the and by Qatar’s sovereign or diplomatic immunity and the Vienna Convention on
       Diplomatic Relations and the Vienna Convention on Consular Relations. Allaham
       objects to this interrogatory to the extent it seeks information protected by the attorney-
       client privilege or the work product immunity.

       Subject to and based on these objections, Allaham responds that (i) he will not provide
       information, documents, or materials subject to protection due to principles of
       international comity and by the Vienna Conventions or Qatar’s sovereign or diplomatic
       immunity, including proposals, reports, status updates, or any other type of information
       shared with Qatar in relation to his work for Qatar as a FARA-registered agent, (ii)
       between March 1, 2017 and December 31, 2019, he did not share any written proposal,
       report, status update, or any other type of written information with Qatar or others that
       discussed Broidy, the Hacked Materials or the Forged Russian documents, (iii)
       information responsive to this interrogatory will be contained in his upcoming document
       production, and that as those documents are produced that Allaham will update these
       responses with specific document references in accordance with Federal Rule of Civil
       Procedure 33(d); and (iv) during the time period in question he had oral communications
       concerning Broidy does not recall the specifics of the oral communications or dates on
       which those oral communications took place.

       4.     Describe all work you performed for Qatar between March 1, 2017 and December

31, 2019.

       ANSWER: Allaham objects to the definition of “you,” as overbroad, in that it purports to
       include within its scope “all representatives, agents, and any other Person from whom the
       information sought is available to [Allaham].” Said definition, as written, seeks to
       impose a discovery obligation on persons who are not party to this litigation. Allaham
       objects to this interrogatory as overbroad in that it requests a description of all work that

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       he performed for Qatar between March 1, 2017 and December 31, 2019, without further
       limitation, and encompasses within its scope information that is irrelevant to Broidy’s
       claims or Allaham’s defenses in this action. Allaham objects to this interrogatory to the
       extent that it requests disclosure of information that is protected by the attorney-client
       privilege or the work product immunity. Allaham objects to this interrogatory because it
       seeks information that is protected from discovery due to principles of international
       comity and by Qatar’s sovereign or diplomatic immunity and the Vienna Convention on
       Diplomatic Relations and the Vienna Convention on Consular Relations.

       Subject to and based on these objections, Allaham responds that during the specified
       period he performed authorized work for Qatar that is described in Lexington Strategies,
       LLC’s FARA registration statements, which are publicly available at
       https://www.justice.gov/nsd-fara. Allaham further responds that information beyond that
       disclosed in these FARA registration statements is protected from disclosure due to
       principles of international comity and the Vienna Conventions and Qatar’s sovereign or
       diplomatic immunity.

       5.     Describe all payments you received directly or indirectly from Qatar or any of its

agents, affiliates, or related entities between March 1, 2017 and December 31, 2019, including

the date, amount, payor, and reason for each payment.

       ANSWER: Allaham objects to the definition of “you,” as overbroad, in that it purports
       to include within its scope “all representatives, agents, and any other Person from whom
       the information sought is available to [Allaham].” Said definition, as written, seeks to
       impose a discovery obligation on persons who are not party to this litigation. Allaham
       objects to this interrogatory as overbroad in that it requests a description of all payments
       received directly or indirectly from Qatar within the given time frame, without further
       limitation, and therefore encompasses within its scope information that is irrelevant to
       Broidy’s claims or Allaham’s defenses in this action. Allaham objects to this
       interrogatory to the extent that it requests disclosure of information that is protected by
       the attorney-client privilege or the work product immunity. Allaham objects to this
       interrogatory to the extent that it seeks any information that is protected from discovery
       due to principles of international comity and by Qatar’s sovereign or diplomatic
       immunity and the Vienna Convention on Diplomatic Relations and the Vienna
       Convention on Consular Relations.




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       Subject to and based on these objections, Allaham responds that Lexington Strategies,
       LLC received payments from Qatar for work performed by Allaham for Qatar during the
       specified time period, and that those payments are described in Lexington Strategies,
       LLC’s FARA registration statements, which are publicly available at
       https://www.justice.gov/nsd-fara. Allaham further responds that any additional
       information about these payments is protected from disclosure due to principles of
       international comity and by the Vienna Conventions and Qatar’s sovereign or diplomatic
       immunity.

       6.      Describe all knowledge you have about plans or efforts to hack the phones,

computers, email accounts, and computer systems of Plaintiffs or related entities from March 1,

2017 until the present.

       ANSWER: Allaham objects to the definition of “you,” as overbroad, in that it purports to
       include within its scope “all representatives, agents, and any other Person from whom the
       information sought is available to [Allaham].” Said definition, as written, seeks to
       impose a discovery obligation on persons who are not party to this litigation. Allaham
       objects to this interrogatory as overbroad and unduly burdensome, in that it purports to
       require Allaham to describe “all knowledge” he has about alleged plans or efforts about
       which he has no direct, personal, or first-hand knowledge. For purposes of this response,
       Allaham will define “knowledge” to mean direct, personal, or first-hand knowledge.
       Allaham objects to this interrogatory to the extent that it seeks any information that is
       protected from discovery due to principles of international comity and by Qatar’s
       sovereign or diplomatic immunity and the Vienna Convention on Diplomatic Relations
       and the Vienna Convention on Consular Relations. Allaham will not disclose
       information regarding his authorized activity for Qatar between August 2017 to July
       2018. Allaham further objects to this interrogatory to the extent it seeks information
       outside the scope of his personal knowledge or available from materials that are outside
       his possession, custody or control.

       Subject to and based on these objections, Allaham responds that he has no direct,
       personal, or first-hand knowledge about any plans or efforts to hack the phones,
       computers, email accounts, and computer systems of Plaintiff or any entities related to
       Plaintiff, from March 1, 2017 to the present.

       7.      Describe all knowledge you have about how the media obtained the Hacked

Materials between January 1, 2018 and December 31, 2019.




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       ANSWER: Allaham objects to the definition of “you,” as overbroad, in that it purports to
       include within its scope “all representatives, agents, and any other Person from whom the
       information sought is available to [Allaham].” Said definition, as written, seeks to
       impose a discovery obligation on persons who are not party to this litigation. Allaham
       objects to this interrogatory as overbroad and unduly burdensome, in that it purports to
       require Allaham to describe “all knowledge” he has about alleged events about which he
       has no direct, personal, or first-hand knowledge. Allaham objects to this interrogatory to
       the extent it seeks information outside the scope of his personal knowledge or available
       from materials that are outside his possession, custody or control. For purposes of this
       response, Allaham will define “knowledge” to mean direct, personal, or first-hand
       knowledge. Allaham objects to this interrogatory to the extent that it seeks any
       information that is protected from discovery due to principles of international comity and
       by Qatar’s sovereign or diplomatic immunity and the Vienna Convention on Diplomatic
       Relations and the Vienna Convention on Consular Relations. Allaham will not disclose
       information regarding his authorized activity for Qatar between August 2017 to July
       2018. Allaham further objects to the term “obtained” as vague and ambiguous. Allaham
       objects to the phrase “Hacked Materials” as vague and ambiguous, and in that it calls for
       legal conclusions.

       Subject to and based on these objections, Allaham responds that he has no direct,
       personal, or first-hand knowledge about how the media purportedly obtained any
       allegedly hacked materials during the time frame specified.

       8.     Describe all knowledge you have about reporters who may have received

something of value, whether financial or otherwise, in exchange for publishing stories based on

the Hacked Materials.




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      ANSWER: Allaham objects to the definition of “you,” as overbroad, in that it purports to
      include within its scope “all representatives, agents, and any other Person from whom the
      information sought is available to [Allaham].” Said definition, as written, seeks to
      impose a discovery obligation on persons who are not party to this litigation. Allaham
      objects to this interrogatory as overbroad and unduly burdensome, in that it purports to
      require Allaham to describe “all knowledge” he has about alleged events about which he
      has no direct, personal, or first-hand knowledge. Allaham objects to this interrogatory to
      the extent it seeks information outside the scope of his personal knowledge or available
      from materials that are outside his possession, custody or control. For purposes of this
      response, Allaham will define “knowledge” to mean direct, personal, or first-hand
      knowledge. Allaham objects to the term “something of value” as vague and ambiguous.
      Allaham objects to the phrase “Hacked Materials” vague and ambiguous, and in that it
      calls for legal conclusions. Allaham objects to this interrogatory to the extent that it
      seeks any information that is protected from discovery due to principles of international
      comity and by Qatar’s sovereign or diplomatic immunity and the Vienna Convention on
      Diplomatic Relations and the Vienna Convention on Consular Relations. Allaham will
      not disclose information regarding his authorized activity for Qatar between August 2017
      to July 2018.

      Subject to and based on these objections, Allaham responds that he has no knowledge
      about any payment or other “thing of value” that may have been given to reporters in
      exchange for publishing stories about the alleged hack.

      9.     Describe all knowledge you have about the identities and roles of each person

involved with the creation, modification, or dissemination of the Forged Russian documents

between March 1, 2017, and May 31, 2018.




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       ANSWER: Allaham objects to the definition of “you,” as overbroad, in that it purports to
       include within its scope “all representatives, agents, and any other Person from whom the
       information sought is available to [Allaham].” Said definition, as written, seeks to
       impose a discovery obligation on persons who are not party to this litigation. Allaham
       objects to this interrogatory as overbroad and unduly burdensome, in that it purports to
       require Allaham to describe “all knowledge” he has about alleged events about which he
       has no direct, personal, or first-hand knowledge. Allaham objects to this interrogatory to
       the extent it seeks information outside the scope of his personal knowledge or available
       from materials that are outside his possession, custody or control. For purposes of this
       response, Allaham will define “knowledge” to mean direct, personal, or first-hand
       knowledge. Allaham objects to the term “obtained” as vague and ambiguous. Allaham
       objects to the phrase “Forged Russian documents” as vague and ambiguous, and in that it
       calls for legal conclusion. Allaham objects to this interrogatory to the extent that it seeks
       any information that is protected from discovery due to principles of international comity
       and by Qatar’s sovereign or diplomatic immunity and the Vienna Convention on
       Diplomatic Relations and the Vienna Convention on Consular Relations. Allaham will
       not disclose information regarding his authorized activity for Qatar between August 2017
       to July 2018.

       Subject to and based on these objections, Allaham responds that he has no knowledge of
       the identities or roles of persons involved with the creation of the so-called “Forged
       Russian Documents,” and does not know what the Plaintiff is referring to regarding
       Forged Russian Documents, except what he has learned through the course of these
       proceedings.

       10.     Describe all meetings you have had with non-Qatari citizen agents or

representatives of Qatar, including the dates of the meetings, the names of those present, and the

subjects discussed, between March 1, 2017 and December 31, 2019.

       ANSWER: Allaham objects to the definition of “you,” as overbroad, in that it purports to
       include within its scope “all representatives, agents, and any other Person from whom the
       information sought is available to [Allaham].” Said definition, as written, seeks to
       impose a discovery obligation on persons who are not party to this litigation. Allaham
       objects to this interrogatory as overbroad in that it requests a description of all meetings
       with non-Qatari citizen agents or representatives of Qatar within the given time frame,
       without further limitation, and therefore encompasses within its scope information that is
       irrelevant to Broidy’s claims or Allaham’s defenses in this action. Allaham objects to the
       phrase “non-Qatari citizen agents or representatives of Qatar” as vague, ambiguous, and
       calling for legal conclusions. Allaham objects to this interrogatory to the extent it seeks
       information outside the scope of his personal knowledge or available from materials that
       are outside his possession, custody or control. Allaham objects to this interrogatory in
       that it seeks information that is irrelevant to Broidy’s claims or Allaham’s defenses in
       this action. Allaham objects to this interrogatory to the extent that it seeks any
       information that is protected from discovery due to principles of international comity and


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       by Qatar’s sovereign or diplomatic immunity and the Vienna Convention on Diplomatic
       Relations and the Vienna Convention on Consular Relations.

       Subject to and based on these objections, Allaham responds that he will not provide
       information about the substance of meetings concerning work he performed for Qatar as
       a FARA-registered agent, as such discussions are protected from disclosure due to
       principles of international comity and by Qatar’s sovereign or diplomatic immunity and
       the Vienna Conventions. Allaham refers Plaintiffs to Lexington Strategies, LLC’s
       publicly filed FARA reports and registrations, which are publicly available at
       https://www.justice.gov/nsd-fara.

       11.     Describe all non-profit entities in which you have had administrative or signature

authority and all businesses in which you have owned at least 10% from March 31, 2017 to the

present, as well as the names of your business partners and investors in those ventures.

        ANSWER: Allaham objects to the definition of “you,” as overbroad, in that it purports
        to include within its scope “all representatives, agents, and any other Person from whom
        the information sought is available to [Allaham].” Said definition, as written, seeks to
        impose a discovery obligation on persons who are not party to this litigation. Allaham
        objects to this interrogatory in that it seeks information that is irrelevant to Broidy’s
        claims or Allaham’s defenses in this action.

       Subject to and based on these objections, Allaham responds that he has no administrative

or signature authority with respect to any non-profit entity. Allaham further responds that the

following is a list of businesses in which he owned at least a 10% stake from March 31, 2017 to

the present, and the names of his business partners:

                     Name                                       Business partners

 Lexington Strategies, LLC                        Lauren Allaham

 Madison Global Strategies, LLC                   Lauren Allaham




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Dated: December 22, 2021
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                                         VERIFICATION

        I, Joseph Allaham, state that I have read PLAINTIFFS’ FIRST INTERROGATORIES

TO DEFENDANT JOSEPH ALLAHAM, and my answers to those interrogatories, which are

true to the best of my knowledge, information, and belief. I declare under penalty of perjury that

the foregoing is true and correct.




Dated                                                        Joseph Allaham




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